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 8                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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     LINDSY SAARLOOS, individually            Case No. 5:24-cv-2058
12   and on behalf of all others similarly
     situated,                                [PROPOSED] ORDER GRANTING
13                                            FINAL APPROVAL OF CLASS
                             Plaintiff,       ACTION SETTLEMENT
14
15         v.                                 Hon. Kenly Kiya Kato

16   THE COWBOY CHANNEL, LLC,
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18                           Defendant.
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 1         On March 28, 2025, this Court granted preliminary approval of the proposed
 2   class action settlement between the parties (“Settlement Agreement”).
 3         The Court also provisionally certified a nationwide Settlement Class for
 4   settlement purposes, approved the procedure for giving notice and forms of Notice,
 5   and set a final approval hearing to take place on August 7, 2025. The Settlement
 6   Class is defined as: all persons in the United States who have or had a subscription
 7   to Cowboy Channel Plus on cowboychannelplus.com from September 25, 2022
 8   through, and including, October 9, 2024. Excluded from the Settlement Class are
 9   (1) any Judge or Magistrate presiding over this Action and members of their families;
10   (2) the Defendant, its subsidiaries, parent companies, successors, predecessors, and
11   any entity in which the Defendant or its parents have a controlling interest and their
12   current or former officers, directors, agents, attorneys, and employees; (3) persons
13   who properly execute and file a timely request for exclusion from the class; and (4)
14   the legal representatives, successors or assigns of any such excluded persons.
15         On August 7, 2025, the Court scheduled a duly noticed final approval hearing
16   to consider:
17         (1)      whether the terms and conditions of the Settlement Agreement
                    are fair, reasonable and adequate;
18
           (2)      whether a judgment should be entered dismissing the complaint
19                  on the merits and with prejudice in favor of Defendant and
20                  against all persons or entities who are Settlement Class members
                    herein who have not requested exclusion from the Settlement
21                  Class; and
22         (3)      whether and in what amount to award attorneys’ fees, costs and
                    expenses to Class Counsel and whether and in what amount to
23                  make an incentive award to Plaintiff Lindsey Saarloos.
24         The Court, having considered all matters submitted to it at the hearing and
25   otherwise, and it appearing that the Class Notice substantially in the form approved
26   by the Court was given in the manner that the Court ordered to States who have or
27   had a subscription to Cowboy Channel Plus at issue, as ordered by the Court, and
28   having considered and determined that the proposed settlement of the claims of the
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 1   Settlement Class Members against Defendant, as well as the release of Defendant
 2   and the Released Persons, and the awards of attorneys’ fees, costs, and expenses and
 3   incentive award requested, are fair, reasonable and adequate, hereby ORDERS
 4   THAT:
 5         1.      The Settlement Agreement, including the definitions contained therein,
 6    is incorporated by reference into this Settlement Approval Order and Final
 7    Judgment.
 8         2.      The Court finds that the prerequisites for a settlement class under
 9   Federal Rules of Civil Procedure (“Fed. R. Civ. P.”) 23(a) and (b)(3) have been
10   satisfied, for purposes of settlement only, in that: (a) the number of Settlement Class
11   Members is so numerous that joinder of all members thereof is impracticable; (b)
12   there are questions of law and fact common to the Settlement Class; (c) the claims of
13   the Representative Plaintiff are typical of the claims of the Settlement Class she seeks
14   to represent; (d) the Representative Plaintiff has and will fairly and adequately
15   represent the interests of the Settlement Class; (e) the questions of law and fact
16   common to the Settlement Class Members predominate over any questions affecting
17   any individual Settlement Class Member; and (f) a class action is superior to the other
18   available methods for the fair and efficient adjudication of the controversy. The
19   Court has also conducted the choice of law analysis required by In re Hyundai and
20   Kia Fuel Economy Litigation, 881 F.3d 679 (9th Cir. 2018) and determined that it
21   can certify a nationwide class under California law and that California has a
22   substantial interest in regulating the conduct of companies who do business in
23   California.
24         3.      Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies this
25   action, for purposes of settlement, as a nationwide class action on behalf of: all
26   persons in the United States who have or had a subscription to Cowboy Channel Plus
27   on cowboychannelplus.com from September 25, 2022 through, and including,
28   October 9, 2024. Excluded from the Settlement Class are (1) any Judge or Magistrate

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 1   presiding over this Action and members of their families; (2) the Defendant, its
 2   subsidiaries, parent companies, successors, predecessors, and any entity in which the
 3   Defendant or its parents have a controlling interest and their current or former
 4   officers, directors, agents, attorneys, and employees; (3) persons who properly
 5   execute and file a timely request for exclusion from the class; and (4) the legal
 6   representatives, successors or assigns of any such excluded persons.
 7         4.     The Court appoints Bursor & Fisher, P.A. as Class Counsel for the
 8   Settlement Class. The Court designates Plaintiff Lindsy Saarloos as the Class
 9   Representative.
10         5.     Notice of the pendency of this action as a class action and of the
11   proposed settlement was given to Settlement Class Members in a manner reasonably
12   calculated to provide the best notice practicable under the circumstances. The form
13   and method of notifying the Settlement Class of the pendency of the Action as a class
14   action and of the terms and conditions of the proposed Settlement met the
15   requirements of Fed. R. Civ. P. 23, due process, and any other applicable law, and
16   constituted due and sufficient notice to all persons and entities entitled thereto.
17         6.     The Settlement Agreement is approved as fair, reasonable and adequate,
18   and the Settlement Class Members and the Parties are directed to consummate the
19   Stipulation of Settlement in accordance with its terms and conditions.
20         7.     Pursuant to Fed. R. Civ. P. 23(h), the Court hereby awards Class
21   Counsel attorneys’ fees, costs, and expenses in the amount of $258,656.90. The Court
22   also orders payment of an incentive award(s) in the amount(s) of $5,000.00 to
23   Plaintiff Lindsy Saarloos. These amounts are to be paid in the time and manner
24   described in the Settlement Agreement.
25         8.     The Action is hereby dismissed with prejudice and without costs as
26   against Defendant and the Released Persons.
27         9.     Representative Plaintiff and all Settlement Class Members (except any
28   such person who has filed a proper and timely request for exclusion) are hereby

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 1   permanently barred and enjoined from instituting, commencing or prosecuting, either
 2   directly or in any other capacity, any and all of the Released Claims against any of
 3   the Released Persons.
 4         10.    Effective as of the Final Settlement Approval Date, each and all of the
 5   Settlement Class Members (except any such person who has filed a proper and timely
 6   request for exclusion) shall be deemed to have, and by operation of law shall have,
 7   fully, finally and forever released, relinquished, and discharged, and shall be forever
 8   barred from asserting, instituting, or maintaining against any or all of the Released
 9   Persons, any and all claims, demands, actions, causes of action, lawsuits, arbitrations,
10   damages, or liabilities whether legal, equitable, or otherwise, relating in any way to
11   the claims asserted or the factual or legal allegations made in the Action, including
12   without limitation the unlawful disclosure of Class Members Personally Identifiable
13   Information from September 25, 2022 through, and including, October 9, 2024
14   (collectively, the “Claims”). With respect to the Claims released pursuant to this
15   paragraph, each Settlement Class Member shall be deemed to have waived,
16   relinquished, and released all claims that have or could have been asserted in the
17   action consistent with the broadest scope of release permitted under Hesse v. Sprint
18   Corp., 598 F. 3d 581, 590 (9th Cir. 2010). Thus, as of the Final Settlement Approval
19   Date, each Settlement Class Member shall be deemed to have expressly waived and
20   fully, finally, and forever settled and released any known or unknown, suspected or
21   unsuspected, contingent or noncontingent claim with respect to the Claims, whether
22   or not concealed or hidden, without regard to subsequent discovery of existence of
23   different or additional facts.
24         11.    Neither the Settlement Agreement, nor any of its terms and provisions,
25   nor any of the negotiations or proceedings connected with it, nor any of the
26   documents or statements referred to therein shall be:
27         (a)    offered by any person or received against as evidence or
                  construed as or deemed to be evidence of any presumption,
28                concession, or admission by Defendant of the truth of the facts
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 1                alleged by the Representative Plaintiff or any Settlement Class
                  Member or the validity of any claim that has been or could have
 2                been asserted in the Action or in any litigation, or other judicial
 3                or administrative proceeding, or the deficiency of any defense
                  that has been or could have been asserted in the Action or in any
 4                litigation, or of any liability, negligence, fault or wrongdoing of
                  Defendant;
 5
           (b)    offered by any person or received against Defendant as evidence
 6                of a presumption, concession or admission of any fault,
 7                misrepresentation or omission with respect to any statement or
                  written document approved or made by Defendant or any other
 8                wrongdoing by Defendant;
 9         (c)    offered by any person or received against Defendant as evidence
                  of a presumption, concession, or admission with respect to any
10                liability, negligence, fault, or wrongdoing, or in any way referred
11                to for any other reason against any of the settling parties, in any
                  civil, criminal, or administrative action or proceeding; provided,
12                however, that nothing contained in this paragraph shall prevent
                  the Stipulation of Settlement from being used, offered, or
13                received in evidence in any proceeding to approve, enforce, or
                  otherwise effectuate the Settlement or the Settlement Approval
14                Order and Final Judgment, or in which the reasonableness,
15                fairness, or good faith of the parties in participating in the
                  Settlement (or any agreement or order relating thereto) is an
16                issue, or to enforce or effectuate provisions of the Settlement, the
                  Settlement Approval Order and Final Judgment, the releases as
17                to the Released Persons.
18         12.    This Settlement Approval Order and Final Judgment constitutes a
19   judgment within the meaning and for purposes of Rule 54 of the Federal Rules of
20   Civil Procedure. Without affecting the finality of the Settlement Approval Order and
21   Final Judgment in any way, this Court hereby retains continuing jurisdiction over:
22   (a) the disposition of the settlement benefits; (b) the settling parties for purposes of
23   construing, enforcing and administering the Stipulation of Settlement; and (c)
24   enforcement of the Stipulation and Order Regarding Undertaking Re: Attorneys’
25   Fees and Costs.
26         13.    Without further order of the Court, the settling parties may agree to
27   reasonably necessary extensions of time to carry out any of the provisions of the
28   Settlement Agreement.
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 1         14.    In the event that the Final Settlement Approval Date does not occur, this
 2   Settlement Approval Order and Final Judgment shall automatically be rendered null
 3   and void and shall be vacated and, in such event, all orders entered in connection
 4   herewith, except the Stipulation and Order Regarding Undertaking Re: Attorneys’
 5   Fees and Costs, shall be null and void.
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     SO ORDERED.
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     DATED: __________________                 _______________________________
10                                             The Honorable Kenly Kiya Kato
11                                             UNITED STATES DISTRICT JUDGE

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